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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 ELEMICA, INC.,

                           Plaintiff,
                                                C.A. No. 21-cv-893-SB
              v.
                                                REDACTED VERSION
 ECMARKET INC. d/b/a CONEXIOM INC.,

                           Defendant.


      EXHIBITS A THROUGH I IN SUPPORT OF PLAINTIFF ELEMICA, INC.’S
        REPLY IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT

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Dated: May 10, 2024
